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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0199 GEB
12                                 Plaintiff,            STIPULATION AND PROTECTIVE ORDER
                                                         BETWEEN THE UNITED STATES AND KIONI
13                          v.                           DOGAN, GLORIA HARRIS, AND LAVONDA
                                                         BAILEY
14   KIONI DOGAN,
     GLORIA HARRIS, and
15   LAVONDA BAILEY
16                                Defendants.
17

18                                                STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendants

20 KIONI DOGAN, GLORIA HARRIS, and LAVONDA BAILEY, by and through their counsel of

21 record, hereby stipulate as follows:

22          1. This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

23 Criminal Procedure, and its general supervisory authority.

24          2. This Stipulation and Order pertains to all discovery provided to or made available to Defense

25 Counsel as part of discovery in this case. The discovery covered by this Order shall hereafter be referred

26 to as the “protected discovery.”

27          3. Defense counsel shall not disclose any of the protected discovery to any person other than

28 his/her respective defendant/client, witnesses that he/she is interviewing or preparing for trial, or

      STIPULATION AND [PROPOSED] PROTECTIVE ORDER         1
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 1 attorneys, law clerks, paralegals, secretaries, experts, and investigators involved in the representation of

 2 the defendant in connection to this criminal case.

 3          4. The protected discovery and information therein may only be used in connection with the

 4 litigation of this case and for no other purpose. The protected discovery is now and will forever remain

 5 the property of the United States Government. Defense counsel will, either (a) return the protected

 6 discovery; (b) certify that it has been shredded at the conclusion of the case; or (c) notify the

 7 Government that defense counsel’s document retention obligations expressly disallow defense counsel

 8 from destroying client’s case file without the client’s express consent.

 9          5. In the event that the defendants obtain substitute counsel, undersigned defense counsel agrees

10 to withhold the protected discovery from new counsel unless and until substituted counsel agrees to be

11 bound by this order.

12          6. Defense counsel will store the protected discovery in a secure place and will use reasonable

13 care to ensure that it is not disclosed to third persons in violation of this agreement.

14          7. If defense counsel makes, or causes to be made, any further copies of any of the protected

15 discovery, defense counsel will inscribe the following notation on each copy: “U.S. Government

16 Property; May Not Be Used Without U.S. Government Permission.”

17          8. If defense counsel releases custody of any of the protected discovery, or authorized copies

18 thereof, to any person described in paragraph three, defense counsel shall provide such recipients with

19 copies of this Order and advise that person that the protected discovery is the property of the United

20 States Government, that the protected discovery and information therein may only be used in connection

21 with the litigation of this case and for no other purpose, and that an unauthorized use of the protected

22 discovery may constitute a violation of law and/or contempt of court.

23          9. Defense counsel shall be responsible for advising his or her respective defendant,

24 employees and other members of the defense team, and defense witnesses of the contents of this

25 Stipulation/Order.

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       STIPULATION AND [PROPOSED] PROTECTIVE ORDER        2
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 1          10. The parties further stipulate that upon review of the discovery yet to be provided, the

 2 defendants reserve the right to seek a modification of the scope of this Protective Order pursuant to Rule

 3 16(d)(1) of the Federal Rules of Criminal Procedure.

 4 IT IS SO STIPULATED.

 5 Dated: November 21, 2016                                  PHILLIP A. TALBERT
                                                             Acting United States Attorney
 6

 7                                                           /s/ JARED C. DOLAN
                                                             JARED C. DOLAN
 8                                                           Assistant United States Attorney
 9

10 Dated: November 21, 2016                                  /s/ Bruce Locke
                                                             BRUCE LOCKE
11
                                                             Counsel for Defendant
12                                                           KIONI DOGAN

13
     Dated: November 21, 2016                                /s/ Greg Foster
14                                                           GREG FOSTER
                                                             Counsel for Defendant
15                                                           GLORIA HARRIS
16

17 Dated: November 21, 2016                                  /s/ Robert Wilson
                                                             ROBERT WILSON
18                                                           Counsel for Defendant
                                                             LAVONDA BAILEY
19

20

21
                                           FINDINGS AND ORDER
22
            IT IS SO FOUND AND ORDERED this 21st day of November, 2016.
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER        3
